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 9

10                           UNITED STATES DISTRICT COURT

11            CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION

12
     CLAUDIA DIANE WILLIAMS,                           Case No.:
13
                    Plaintiff,
                                                       NOTICE OF REMOVAL OF
14                                                     CIVIL ACTION BY
             vs.
                                                       DEFENDANT EXTRA SPACE
15                                                     STORAGE INC.
   EXTRA SPACE STORAGE INC., and DOES
16 1-20, inclusive,                                    [Removal from Superior Court of
                Defendant.                             California, County of Riverside,
17                                                     Case No. CVRI2104462]
18

19

20   TO THE CLERKS OF THE UNITED STATES DISTRICT COURT,
     CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION:
21
             PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and
22

23   1446, Defendant EXTRA SPACE STORAGE INC. (hereinafter, “Defendant”)
24
     hereby removes this civil action (hereinafter, “State Court Action”) from the
25
     Superior Court of California, County of Riverside, where it is currently pending, to
26

27   the United States District Court, Central District of California, Eastern Division.
28

                                                 1
             NOTICE OF REMOVAL OF CIVIL ACTION BY DEFENDANT EXTRA SPACE STORAGE INC.
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 1
     GROUNDS FOR REMOVAL

 2           1.     Defendant’s basis for removal is diversity jurisdiction under 28 U.S.C.
 3
     § 1332(a). As will be fully discussed below, the State Court Action is between
 4

 5   citizens of different States as defined in 28 U.S.C. § 1332(a)(1), and the amount in

 6   controversy is greater than $75,000.
 7
             2.     Removal to the Central District of California, Eastern Division is proper
 8

 9   because this Division includes Riverside County, California, where the State Court

10   Action is currently pending. 28 U.S.C. § 1441(a).
11
             3.     Defendant was served with the Summons and Complaint in the State
12

13   Court Action on January 11, 2022. Therefore, the removal is timely under 28 U.S.C.

14   § 1446 (b), (c).
15
             4.     Defendant will file a copy of this Notice of Removal with the clerk of
16

17   the Superior Court of the State of California, County of Riverside, and will serve a

18   copy on Plaintiff as required by 28 U.S.C. § 1446(d).
19
     THE STATE COURT ACTION
20

21           5.     On September 30, 2021, Plaintiff Claudia Diane Williams (“Plaintiff”)
22   commenced the State Court Action by filing a Summons and a Complaint naming
23
     Defendant as the only defendant. The Complaint was assigned a Case No.
24

25   CVRI2104462.
26           6.     Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of Plaintiff’s
27
     Complaint filed in the State Court Action is attached hereto as Exhibit A. Defendant
28

                                                 2
             NOTICE OF REMOVAL OF CIVIL ACTION BY DEFENDANT EXTRA SPACE STORAGE INC.
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 1
     has not been served with any other pleadings filed or any orders entered in the State

 2   Court Action.
 3
             7.     The Complaint alleges that, on or about August 8, 2019, Plaintiff had an
 4

 5   trip and fall incident on the subject premises located at 21201 Box Spring Road,

 6   Moreno Valley, California 92557, allegedly owned and managed by Defendant.
 7
     (See Exhibit A, pg. 5)
 8

 9           8.     The Complaint further alleges that, as a result of the incident, Plaintiff

10   “received severe injuries to her body and shock and injuries to her nervous system,
11
     all of which caused and continue to cause her severe pain and discomfort and
12

13   Plaintiff is informed and believes, and based upon such information and belief,

14   alleges that she will in the future suffer severe mental, physical and nervous pain and
15
     suffering, all to her general damage in a sum according to proof at the time of trial.”
16

17   (See Id.)

18           9.     The Complaint further alleges that, as a direct and proximate result of
19
     the acts and omissions of Defendant, and the injuries resulting therefrom, “Plaintiff
20

21   necessarily employed physicians and surgeons for medical examinations, treatment,
22   and care for these injuries, and incurred medical and incidental expenses. Plaintiff
23
     will also have to incur additional like expenses in the future, all in the amounts
24

25   presently unknown to her.” (See Id., pg. 6)
26

27

28

                                                 3
             NOTICE OF REMOVAL OF CIVIL ACTION BY DEFENDANT EXTRA SPACE STORAGE INC.
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 1
             10.    The Complaint seeks damages including (1) wage loss, (2) hospital and

 2   medical expenses, (3) general damages, (4) loss of earning capacity, and (5) other
 3
     damages according to proof. (See Id. pg. 4)
 4

 5           11.    Defendant has not filed any responsive pleadings in the State Court

 6   Action.
 7
     COMPLETE DIVERSITY EXISTS
 8

 9           12.    Defendant was incorporated in the State of Maryland, and its principal

10   place of business is in Salt Lake City, Utah.
11
             13.    Upon information and belief, Plaintiff resides in the State of California.
12

13           14.    The citizenship of the Doe defendants, sued under fictitious names,

14   should be disregarded for the purpose of removal. Newcombe v. Adolf Coors Co.,
15
     157 F.3d 686, 690 (9th Cir. 1998).
16

17           15.    Therefore, complete diversity of citizenship exists between Plaintiff and

18   Defendant.
19
     AMOUNT IN CONTROVERSY IS GREATER THAN $75,000
20

21           16.    The amount in controversy is based on the relief a plaintiff theoretically
22   could obtain if he or she was successful on all the claims. Campbell v. Vitran Exp.,
23
     Inc. 471 F. App’x 646, 648 (9th Cir. 2012) (emphasis added).
24

25           17.    “A defendant’s notice of removal need include only a plausible
26   allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart
27

28

                                                 4
             NOTICE OF REMOVAL OF CIVIL ACTION BY DEFENDANT EXTRA SPACE STORAGE INC.
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 1
     Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554, 190 L. Ed. 2d

 2   495 (2014).
 3
             18.    “[T]he status of the case as disclosed by the plaintiff’s complaint is
 4

 5   controlling in the case of a removal.” St. Paul Mercury Indem. Co. v. Red Cab Co.,

 6   303 U.S. 283, 291, 58 S. Ct. 586, 82 L. Ed. 845 (1938); see also Sanchez v.
 7
     Monumental Life Ins. Co., 102 F.3d 398, 402-403 (9th Cir. 1996) (jurisdictional facts
 8

 9   stated in plaintiff’s state-court complaint control unless plaintiff can prove to a

10   “legal certainty” that his pleading was inaccurate).
11
             19.    A “notice of removal ‘need not contain evidentiary submissions’ but
12

13   only plausible allegations of the jurisdictional elements.” Acad. of Country Music v.

14   Cont'l Cas. Co., 991 F.3d 1059, 1068 (9th Cir. 2021) (internal citation omitted).
15
             20.    A “district court may not remand the case back to state court without
16

17   first giving the defendant an opportunity to show by a preponderance of the evidence

18   that the jurisdictional requirements are satisfied.” Id. (internal citation omitted)
19
     “The district court erred as a matter of law in requiring that the notice of removal
20

21   ‘prove’ subject matter jurisdiction instead of containing plausible allegations of the
22   jurisdictional elements.” Id. at 1069 (internal citation omitted).
23
             21.    While Defendant denies the allegations set forth in the Complaint and
24

25   maintains that Plaintiff is not entitled to any of the damages she seeks, in
26   determining the amount in controversy, “a court must assume that the allegations in
27
     the complaint are true and assume that a jury will return a verdict for the plaintiff on
28

                                                 5
             NOTICE OF REMOVAL OF CIVIL ACTION BY DEFENDANT EXTRA SPACE STORAGE INC.
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 1
     all claims made in the complaint.” Campbell, 471 F. App.’x at 648 (citing Kenneth

 2   Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001
 3
     (C.D.Cal. 2002).
 4

 5           22.    Based on the injuries Plaintiff alleges in the Complaint and the damages

 6   the Complaint seeks, Plaintiff’s relief could theoretically amount to greater than
 7
     $75,000. The amount in controversy requirement is satisfied.
 8

 9           23.    Accordingly, Defendant has demonstrated that removal is appropriate.

10   RESERVATION OF RIGHTS
11
             24.    In undertaking this analysis, Defendant does not concede the truth of
12

13   any of the allegations set forth in the Complaint. All paragraphs and provisions

14   contained herein are adversarial in nature, operate under all necessary assumptions
15
     and presumptions, and are set forth for the limited purpose of removing said matter
16

17   to Federal Court.

18           WHEREFORE, based on the foregoing, Defendant respectfully removes this
19
     action from the Superior Court of California, County of Riverside, to the United
20

21   States District Court in the Central District of California, Eastern Division.
22

23   Dated: February 8, 2022
24                                               Jianlin Song
                                                 Jenny C. Chien
25                                               Wilson Elser Moskowitz Edelman
                                                 & Dicker LLP
26                                               Counsel for Defendant
                                                 EXTRA SPACE STORAGE INC.
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                                                 6
             NOTICE OF REMOVAL OF CIVIL ACTION BY DEFENDANT EXTRA SPACE STORAGE INC.
     266200098v.1
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                                 EXHIBIT A




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        The incident occurred at an Extra Space Storage Inc., located at 21201 Box Spring Road,
        Moreno Valley, California 92557. Plaintiff was walking through the facility, when she
        tripped and fell on uneven and/or unsafe pavement at the subject property, causing her to
        sustain injuries and damages.

        The subject premises was in a dangerous condition of which Defendant Extra Space Storage
        Inc., knew or should have known. Defendant Extra Space Storage Inc., and DOES 1 to 20,
        inclusive, and each of them, negligently created the dangerous condition and/or failed to
        adequately inspect, maintain and/or control the premises.
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